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                   IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH CAROLINA
                             COLUMBIA DIVISION

United States of America,              )     Criminal. No.: 1:21-cr-640
                                       )
             vs.                       )
                                       )     Motion for Continuance
George Tenney,                         )
                                       )
                    Defendant.         )
                                       )



      The defendant, by and through undersigned counsel, respectfully requests a

continuance for the previously scheduled sentencing hearing. A sentencing hearing

has been scheduled for October 20, 2022. Counsel for the defendant filed a notice of

appearance on August 24, 2022 and requires additional time to meet with the

defendant to adequately prepare for sentencing.

      The defense requests that this matter be scheduled in the month of

November, 2022 or December, 2022. If this Court grants the request for

continuance, the defense requests that the timeframe of November 21, 2022 –

November 28, 2022 is excluded from possible dates for sentencing. The government

has indicated that it does not oppose a continuance to the month of November.



                                       Respectfully submitted,
                                       s/Charles W. Cochran
                                       Charles W. Cochran
                                       Assistant Federal Public Defender
                                       P.O. Box 876
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November 8, 2022
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